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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                            §
                                                    §
vs.                                                 §                    CASE NO. 4:23-CR-218
                                                    §
HARDIK JAYANTILAL PATEL                             §

                DEFENDANT’S MOTION TO WITHDRAW AS COUNSEL

      COMES NOW, Defendant Hardik Patel, who respectfully moves this Court for an Order

authorizing M. Francie Trimble’s withdrawal as counsel of record, and as grounds therefore would

state:

         1.    M. Francie Trimble will be leaving Holland & Knight LLP as of March 15, 2024;

therefore, she will no longer be representing Hardik Patel.

         2.    Hardik Patel remains represented in this case by Steven Block of the law firm of

Holland & Knight LLP (“Holland & Knight”) located at 150 N. Riverside Plaza, Suite 2700,

Chicago, Illinois 60606.

         3.    All communications, orders, pleadings, and other documents should be directed to

Steven Block via the contact information provided in the signature block below.

Dated: March 15, 2024.                       Respectfully submitted,

                                             HOLLAND & KNIGHT, LLP

                                             By:     Steven A. Block
                                                     Steven A. Block, Pro hac vice
                                                     Illinois Bar No. 6269433
                                                     Steven.Block@hklaw.com
                                                     150 N. Riverside Plaza, Suite 2700
                                                     Chicago, Illinois 60606
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                                             COUNSEL FOR DEFENDANT
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                                    CERTIFICATE OF SERVICE

         I certify that a true and correct copy of this above and foregoing document was served via ECF on
this 15th day of March, 2024.

                                                         Steven A. Block
                                                         Steven A. Block




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